            Case 2:22-cv-01613-JLR Document 50 Filed 12/22/22 Page 1 of 10



 1                                                             The Honorable Tana Lin
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 8                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WASHINGTON
 9                                 SEATTLE DIVISION

10
     SEAGEN INC.,                            Case No. 2:22-cv-01613-TL
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                     Petitioner,             PETITIONER SEAGEN INC.’S NOTICE OF
12                                           SUPPLEMENTAL AUTHORITY
           v.
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14   DAIICHI SANKYO CO., LTD.,

15                   Respondent.

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                                                                                 C OOLEY LLP
     NOTICE OF SUPPL. AUTHORITY                                 1700 S EVENTH A VE ., S UITE 1900
     Case No. 2:22-cv-01613-TL                                        S EATTLE , WA 98101-1355
                                                                                 (206) 452-8700
              Case 2:22-cv-01613-JLR Document 50 Filed 12/22/22 Page 2 of 10



 1          PLEASE TAKE NOTICE that, pursuant to LCR 7(n), Petitioner Seagen Inc. (“Seagen”)
 2   respectfully submits the attached order issued by Hon. Garrett E. Brown, Jr. (Ret.) (the
 3   “Arbitrator”) on December 19, 2022 in the arbitration between Seagen and Respondent Daiichi
 4   Sankyo Co., Ltd. (“DSC”) as additional authority for the Court’s consideration in evaluating
 5   Seagen’s Petition to Vacate Arbitration Award (the “Petition”) (Dkt. No. 1).
 6          Seagen filed the Petition on November 10, 2022, noting that the Award, while styled as an
 7   “Interim Award,” “states that it ‘is fully and finally dispositive with respect to all factual issues,
 8   legal and equitable arguments, and defenses raised in conjunction with the Parties’ claims and
 9   requests for relief, with the sole exception of the Parties’ respective requests for an award of, inter
10   alia, attorneys’ fees.’” (See Dkt. No. 1 at ¶ 6; see also id. at ¶¶ 19, 20; Dkt. No. 11 at 10.)
11          In his December 19, 2022 Order, the Arbitrator stated that “no Final Award has been issued
12   in this arbitration pursuant [to] AAA Rule R-47(b), and thus, Seagen’s pending petition to vacate
13   the Interim Award appears to be interlocutory.” (12/19/2022 Order at 3.) A true and correct copy
14   of the Arbitrator’s December 19, 2022 order is attached as Exhibit A.
15
     Dated: December 22, 2022
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17                                               /s/Christopher B. Durbin
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            Case 2:22-cv-01613-JLR Document 50 Filed 12/22/22 Page 3 of 10


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                                                                                      (206) 452-8700
Case 2:22-cv-01613-JLR Document 50 Filed 12/22/22 Page 4 of 10




               EXHIBIT A
            Case 2:22-cv-01613-JLR Document 50 Filed 12/22/22 Page 5 of 10




               INTERNATIONAL CENTRE FOR DISPUTE RESOLUTION
                          International Arbitration Tribunal
____________________________________
                                        :
SEAGEN INC.,                            :
                                        :
      Claimant,                         :      CASE NO: 01-19-0004-0115
                                        :
      v.                                :      ORDER
                                        :
DAIICHI SANKYO CO., LTD.,               :      RE: (1) DSC’s Request for an Award
                                        :              of its Reasonable Costs and Fees;
      Respondent.                       :              and (2) Seagen’s Request to Stay
____________________________________:

       I.       Background

       On August 11, 2022, the undersigned Arbitrator (the “Arbitrator”) issued an Interim Award

(the “Interim Award”) that resolved all issues in this proceeding except for a prospective award to

Respondent Daiichi Sankyo Co., LTD. (“DSC”) of its “costs of arbitration, reasonable attorneys’

fees and reasonable costs for expert and other witnesses” pursuant to Section 19.3.4 of the Parties’

Collaboration Agreement. With respect to that sole remaining issue, the Arbitrator instructed DSC

and Claimant Seagen Inc. (“Seagen”) to “promptly meet and confer, and not later than August 31,

2022, make a single joint submission that explains the Parties’ agreement and/or respective

positions on the need for/suggested structure of future proceedings related to” any request by DSC

for an award pursuant to Section 19.3.4. (Interim Award at 45).

       Accordingly, on August 31, 2022, the Parties made a joint submission explaining their

stipulation that: (1) by September 14, 2022, DSC would make a submission to the Arbitrator that

sets forth: “(a) its reasonable costs and fees in the arbitration that [it] is requesting; and (b) the

categories of the costs and fees that should be shifted, the amounts for each category, and the total

amount that it contends should be shifted” along with a supporting affidavit; (2) by October 12,

2022, Seagen would submit any response to DSC’s request; and (3) DSC would submit any reply

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         Case 2:22-cv-01613-JLR Document 50 Filed 12/22/22 Page 6 of 10




by November 2, 2022. (8/31/22 Jt. Ltr.). The Arbitrator adopted the Parties’ foregoing stipulation

on September 1, 2022, and in doing so, stated as follows:

                  Given the size and complexity of this proceeding, I agree that a
                  categorical approach to DSC’s request – and any disputes arising
                  therefrom – is appropriate, and strongly urge the Parties to avoid the
                  need for me to undertake a granular/detailed review of time entries
                  and/or invoices as part of their forthcoming submissions.

(9/1/22 ICDR Email).

       Pursuant to the foregoing stipulation, the Parties timely made their respective submissions

which reflect, in sum: (1) DSC’s request for a total award of US$58,092,301.58 and JPY3,436,666

that collectively consists of “(i) Arbitrator fees and expenses; (ii) hearing and support services

expenses; (iii) outside counsel attorneys’ fees and expenses; (iv) expert witness fees and expenses;

and (v) fact witness expenses” (see 9/14/22 DSC Mot. Br. at 2); and (2) Seagen’s objections –

stated in both general and categorical terms – for an award of any amount to DSC pursuant to

Section 19.3.4.

       On November 10, 2022, after the foregoing submissions were made, Seagen requested that

the Arbitrator “stay his ruling on Respondent DSC’s request for fees” pending resolution of a

petition to vacate the Interim Award that Seagen filed in the United States District Court for the

Western District of Washington. (11/10/22 Seagen Email). DSC submitted a letter in opposition

to that request on November 21, 2022, and Seagen submitted a letter in reply on December 1, 2022.

       II.        Discussion

       The Arbitrator has reviewed all of the Parties’ foregoing submissions in conjunction with

the Interim Award. Having done so, the Arbitrator resolves various issues presented by the Parties

as follows.

                  A.     Seagen’s Request for a Stay



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         Case 2:22-cv-01613-JLR Document 50 Filed 12/22/22 Page 7 of 10




       As noted, on November 10, 2022, Seagen requested that the Arbitrator stay this proceeding

pending resolution of its petition to vacate the Interim Award. In its November 21, 2022 letter

opposing that request, DSC argues, inter alia, that Seagen’s request must be denied because: (1)

Seagen has not “established good cause for a stay because there is none”; and (2) Seagen has not

demonstrated that it will suffer any “undue prejudice from having the costs and fees issue resolved

now.” (DSC 11/21/22 Opp’n at 2). The Arbitrator agrees with DSC on both points.

       Moreover, the Arbitrator notes that no Final Award has been issued in this arbitration

pursuant AAA Rule R-47(b), and thus, Seagen’s pending petition to vacate the Interim Award

appears to be interlocutory. Despite that procedural posture, Seagen cites no authority from any

source in support of its inherent contention that – absent the Parties’ agreement – it is even

potentially appropriate to stay this arbitration pending interlocutory judicial review. Given that

landscape, the Arbitrator is persuaded that the applicable AAA Rules militate efficient resolution

of this proceeding via the issuance of a Final Award – which would include resolution of DSC’s

request for an award pursuant to Section 19.3.4 of the Collaboration Agreement.

       For these reasons, Seagen’s November 10, 2022 request for a stay must be DENIED.

               B.      DSC’s Request for an Award of its “Reasonable Costs and Fees”

       Section 19.3.4 of the Collaboration Agreement states as follows in pertinent part: “the

judgment rendered by the arbitrator shall include the costs of arbitration, reasonable attorneys’ fees

and reasonable costs for expert and other witnesses.” (RX-0008 at § 19.3.4) (emphasis added).

Thus, based upon the Arbitrator’s determinations in the Interim Award, Section 19.3.4 mandates

that DSC “shall” receive its attorneys’ fees and certain costs to the extent that they are

“reasonable”. Given that clear, unambiguous, and mandatory contract language, the Arbitrator

was hopeful that the streamlined procedures reflected in their August 31, 2022 stipulation would



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         Case 2:22-cv-01613-JLR Document 50 Filed 12/22/22 Page 8 of 10




facilitate the prompt and efficient resolution of the sole issue remaining in this arbitration.

Unfortunately, however, the Parties’ subsequent submissions make clear that this was not to be.

The present record does not provide the Arbitrator with a sufficient basis to fully and fairly evaluate

DSC’s request for an award pursuant to Section 19.3.4, which in total appears to exceed

$US60,000,000. Instead, the Arbitrator is persuaded that additional proceedings are required to

fulfill the clear mandate of Section 19.3.4 that DSC be awarded its “reasonable” attorneys’ fees

and costs. In an effort to structure those additional proceedings as efficiently as possible, the

Arbitrator addresses and resolves certain threshold issues presented by the Parties’ respective

submissions to date, as follows:

      DSC’s assertion that the Arbitrator should apply certain concepts asserted to be drawn from

       the realm of “international arbitration” as discussed in various scholarly publications is

       unavailing. As the Arbitrator made clear in the Interim Award, the AAA Rules and the

       substantive laws of the State of Washington and/or the United States of America are

       applicable in this proceeding and have been consistently and exclusively applied since its

       inception. (See Interim Award at § IV). Accordingly, it is the Arbitrator’s expectation that

       the Parties’ future arguments – like their arguments prior to the Interim Award – will be

       based upon those applicable sources of authority.

      Relatedly, the primary question presented by the Parties’ submissions is the extent to which

       DSC’s requested attorneys’ fees are “reasonable” within the meaning of Section 19.3.4 of

       the Collaboration Agreement. It follows that the yardstick for gauging “reasonableness”

       in this context will be substantive Washington State law, which as reiterated above, governs

       the Collaboration Agreement.




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            Case 2:22-cv-01613-JLR Document 50 Filed 12/22/22 Page 9 of 10




          Under Washington State law, DSC bears the burden of proving that its requested attorneys’

           fees and costs are “reasonable”, and to bear that burden, DSC must provide, inter alia,

           “reasonable documentation of the work performed in order to allow the court to assess

           whether the number of hours expended was reasonable.” (10/12/22 Seagen Opp’n Br. at 4

           (quoting Zones, Inc. v. Evergreen Info. Tech Servs., Inc., No. 2:17-CV-00457-RAJ, 2019

           WL 6894676, at *1 (W.D. Wash. Dec. 18, 2019) (internal quotations omitted)).

           Axiomatically, the “lodestar” paradigm is a well-accepted – if not mandatory – method of

           gauging reasonableness under Washington State law. (See id. at 5 (citing, e.g., Crest Inc.

           v. Costco Wholesale Corp., 128 Wash. App. 760, 773 (Wash. Ct. App. 2005)).

          To the extent that DSC asserts, either expressly or impliedly, that Seagen agreed to waive

           or otherwise abrogate DSC’s burden to prove the reasonableness of its requested attorneys’

           fees and costs under Washington State law by virtue of the Parties’ August 31, 2022

           stipulation, the Arbitrator disagrees. The Arbitrator further rejects Seagen’s argument that

           “ Because It Failed to Prove the Reasonableness of Its Request, DSC Is Not Entitled to

           Any Amount of Fees and Costs.” (10/12/22 Seagen Opp’n Br. at 5)

          Finally, to the extent that Seagen argues that the attorneys’ fees and costs it claims to have

           accrued to date in this proceeding are relevant to the reasonableness inquiry that the

           Arbitrator must undertake with respect to DSC’s request, the Arbitrator disagrees.

III.       Conclusion and Order

           The Arbitrator concludes that, with the benefit of the foregoing guidance, the Parties shall

once again promptly meet-and-confer and utilize utmost good faith efforts to agree upon a

workable process for promptly and efficiently addressing the sole remaining issue in this

arbitration – DSC’s request for an award of its attorneys’ fees and costs pursuant to Section 19.3.4


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        Case 2:22-cv-01613-JLR Document 50 Filed 12/22/22 Page 10 of 10




of the Arbitration Agreement. To that end, not later than January 16, 2023, the Parties shall make

an additional single joint submission that explains: (1) their agreement upon a process; (2) if the

Parties are not in complete agreement, any areas or issues upon which the Parties do agree; and/or

(3) the Parties respective proposals – made in appropriate detail – for an effective process that

reasonably accords with Washington State law.

       Once again, the Arbitrator urges the Parties to consider categorical approaches that either

largely avoid or completely obviate a need for the Arbitrator “to undertake a granular/detailed

review of time entries and/or invoices as part of their forthcoming submissions.” (9/1/22 ICDR

Email). However, the Parties are advised that, in the absence of a meaningful agreement, the

Arbitrator will establish a process for evaluating the reasonableness of DSC’s requested attorneys’

fees and costs that objectively complies with Washington State law.



       IT IS SO ORDERED.

   /s/ Garrett E. Brown, Jr.
Hon. Garrett E. Brown, Jr. (Ret.)
          Arbitrator

DATED: December 19, 2022




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